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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1532V
                                        (not to be published)


    WILLIAM C. CARTER,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: May 19, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC,, for Petitioner.

Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
       Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On October 3, 2018, William Carter filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered from Guillain-Barre syndrome as a
result of receiving a flu vaccine on October 6, 2015. (Petition at 1). On September 30,
2022, a decision was issued awarding compensation to Petitioner based on the parties’
stipulation. (ECF No. 58).



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated March 3,
2022 (ECF No. 63), requesting an award of $30,630.24 in fees and costs incurred by
Turning Point Litigation, $10,014.97 in fees and costs incurred by Ward Black Law, and
$3,000.00 in expert fees incurred by Cynthia Wilhelm, PhD. (ECF No. 63 at 1). 3 In
accordance with General Order No. 9, Petitioner filed a signed statement indicating that
he incurred no out-of-pocket expenses. (ECF No. 63-4 at 2). Respondent reacted to the
motion on March 22, 2022, indicating that he is satisfied that the statutory requirements
for an award of attorney’s fees and costs are met in this case, but deferring resolution of
the amount to be awarded at the Court’s discretion. (ECF No. 64). On March 23, 2022,
Petitioner filed a reply requesting the Chief Special Master “exercise his discretion and
determine a reasonable award for attorney’s fees and costs.” (ECF No. 65).

        On March 30, 2022, Petitioner filed an Amended Motion for Attorney Fees and
Costs, requesting an increased rates for Nancy Meyers and her paralegals based on “the
recently updated billing rates which were published in late March of 2022”. (ECF No. 66).
The amended motion increases the total of fees and costs incurred by Turning Point
Litigation to $30,726.24. I have reviewed the billing records submitted with Petitioner’s
request. In my experience, the request appears reasonable, and I find no cause to reduce
the requested hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $43,741.21, consisting of $30,726.24 in attorney fees and costs allocated
to Turning Point Litigation; $10,014.97 in fees and costs allocated to Ward Black Law;
and $3,000.00 allocated to Cynthia Wilhelm, PhD. This is to be paid as a lump sum in the
form of a check jointly payable to Petitioner and Turning Point Litigation.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master

3
 Petitioner requests the total amount awarded be made payable to Turning Point Litigation who will make
payment to Ward Black Law and Cynthia Wilhelm. (ECF No. 63 at 2).
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                2
